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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )      Case No.: 2304617 NE14
                                          )
                     Plaintiff,           )      8:12CB4
                                          )
       vs.                                )                ORDER
                                          )
SHAWNTAIA M. SALLIS,                      )
                                          )
                     Defendant.           )



       IT IS ORDERED:

       Defendant is granted an extension of time until August 28, 2012, in which to pay the

collateral amount due of $125.00. The full collateral amount is payable in full by that date

or the defendant must appear for hearing before the undersigned magistrate judge on

August 28, 2012 at 9:00 a.m. in Courtroom No. 7, Second Floor, Roman L. Hruska United

States Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The clerk will mail a copy

of this order to Shawntaia Sallis at her address of 5635 Kansas Avenue, Omaha, Nebraska

68104.

       DATED this 12th day of July, 2012.


                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
